                   Case 2:10-cr-00261-LDG-LRL                     Document 77 Filed 06/17/11
                                                                    ***AMENDED***                                   Page 1 of 9
AO 245B       (Rev. 09/08) Judgment in a Criminal Case
              Sheet 1



                                         UNITED STATES DISTRICT COURT
                                 __________ District of                          Nevada
                                                      )
             UNITED STATES OF AMERICA                 )                              JUDGMENT IN A CRIMINAL CASE
                        v.                            )
                   SCOTT BRADY                        )
                                                                                     Case Number:           2:10-CR-00261-LDG-LRL
                                                      )
                                                      )                              USM Number:            45005-048
                                                      )
                                                      )                              JESS MARCHESE (CJA)
                                                                                     Defendant’s Attorney
THE DEFENDANT:
X pleaded guilty to count(s)        THE SUPERSEDING CRIMINAL INFORMATION

G pleaded nolo contendere to count(s)
   which was accepted by the court.

G was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                            Offense Ended             Count
18 USC 922(g)
 (1) & 924(a)(2)                 Felon in Possession of a Firearm                                             05/26/2010                    1




       The defendant is sentenced as provided in pages 2 through                 7          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

G The defendant has been found not guilty on count(s)
X Count(s)      Original Indictment                      X is     G are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                          MAY 25, 2011
                                                                          Date of Imposition of Judgment




                                                                          Signature of Judge




                                                                          LLOYD D. GEORGE, SR., U.S.DISTRICT JUDGE
                                                                          Name and Title of Judge



                                                                          Date
                   Case 2:10-cr-00261-LDG-LRL                      Document 77            Filed 06/17/11       Page 2 of 9
AO 245B     (Rev. 09/08) Judgment in Criminal Case
            Sheet 2 — Imprisonment

                                                                                                       Judgment — Page    2       of   7
DEFENDANT:                     SCOTT BRADY
CASE NUMBER:                   2:10-CR-00261-LDG-LRL



                                                              IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:


                                                     51 MONTHS

    X     The court makes the following recommendations to the Bureau of Prisons:
          Court makes recommendation for placement at TERMINAL ISLAND




    X     The defendant is remanded to the custody of the United States Marshal.

    G     The defendant shall surrender to the United States Marshal for this district:

          G   at                                     G a.m.      G p.m.         on                                            .

          G   as notified by the United States Marshal.

    G     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          G   before 2 p.m. on                                             .

          G   as notified by the United States Marshal.

          G   as notified by the Probation or Pretrial Services Office.



                                                                    RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                           to

a                                                     , with a certified copy of this judgment.




                                                                                                     UNITED STATES MARSHAL


                                                                               By
                                                                                                  DEPUTY UNITED STATES MARSHAL
                     Case 2:10-cr-00261-LDG-LRL                    Document 77            Filed 06/17/11          Page 3 of 9
AO 245B       (Rev. 09/08) Judgment in a Criminal Case
              Sheet 3 — Supervised Release
                                                                                                           Judgment—Page        3   of         7
DEFENDANT:                     SCOTT BRADY
CASE NUMBER:                   2:10-CR-00261-LDG-LRL
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :
                     3 YEARS


         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court, not to exceed 104 tests annually. Revocation is mandatory for refusal to comply.

G        The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)

X        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

C        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

         The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
G        as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
         works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

G        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
    1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
          each month;
    3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4)    the defendant shall support his or her dependents and meet other family responsibilities;
    5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
    6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
    7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and

 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant’s compliance with such notification requirement.
                 Case 2:10-cr-00261-LDG-LRL           Document 77        Filed 06/17/11      Page 4 of 9
 AO 245B   (Rev. 09/08) Judgment in a Criminal Case
           Sheet 4C — Probation
                                                                                       Judgment—Page   4    of         7
 DEFENDANT:                SCOTT BRADY
 CASE NUMBER:              2:10-CR-00261-LDG-LRL

                                         SPECIAL CONDITIONS OF SUPERVISION

1. You shall not possess, have under your control, or have access to any firearm, explosive device, or other dangerous
weapons, as defined by federal, state, or local law.

2. You shall submit your person, property, residence, place of business and vehicle under your control to a search,
conducted by the United States probation officer or any authorized person under the immediate and personal
supervision of the probation officer, at a reasonable time and in a reasonable manner, based upon reasonable suspicion
of contraband or evidence of a violation of a condition of supervision; failure to submit to a search may be grounds for
revocation; the defendant shall inform any other residents that the premises may be subject to a search pursuant to this
condition.

3. You shall participate in and successfully complete a substance abuse treatment and/or cognitive based life skills
program, which will include drug/alcohol testing and/or outpatient counseling, as approved and directed by the
probation office. You shall refrain from the use and possession of beer, wine, liquor, and other forms of intoxicants
while participating in substance abuse treatment. Further, you shall be required to contribute to the costs of services
for such treatment, as approved and directed by the probation office based upon your ability to pay.

4. You shall participate in and successfully complete a mental health treatment program, which may include testing,
evaluation, and/or outpatient counseling, as approved and directed by the probation office. You shall refrain from the
use and possession of beer, wine, liquor, and other forms of intoxicants while participating in mental health treatment.
Further, you shall be required to contribute to the costs of services for such treatment, as approved and directed by the
probation office based upon your ability to pay.
5. You shall report, in person, to the probation office in the district to which you are released within 72 hours of
discharge from custody.
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AO 245B   (Rev. 09/08) Judgment in a Criminal Case
          Sheet 5 — Criminal Monetary Penalties
                                                                                                       Judgment — Page 5        of       7
DEFENDANT:                        SCOTT BRADY
CASE NUMBER:                      2:10-CR-00261-LDG-LRL
                                         CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                      Assessment                                         Fine                                Restitution
TOTALS            $ 100.00                                            $ WAIVED                             $ N/A


G    The determination of restitution is deferred until              . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

G    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                 Total Loss*                          Restitution Ordered                 Priority or Percentage




TOTALS                              $                                        $


G     Restitution amount ordered pursuant to plea agreement $

G     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      G the interest requirement is waived for the              G fine   G      restitution.

      G the interest requirement for the             G   fine    G   restitution is modified as follows:



* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
                  Case 2:10-cr-00261-LDG-LRL                       Document 77            Filed 06/17/11            Page 6 of 9
AO 245B    (Rev. 09/08) Judgment in a Criminal Case
           Sheet 6 — Schedule of Payments

                                                                                                            Judgment — Page      6      of          7
DEFENDANT:                  SCOTT BRADY
CASE NUMBER:                2:10-CR-00261-LDG-LRL

                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A    X    Lump sum payment of $            100.00              due immediately, balance due

          G      not later than                                    , or
          G      in accordance           G    C,      G   D,   G     E, or     G F below; or
B    G    Payment to begin immediately (may be combined with                 G C,      G D, or      G F below); or
C    G    Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                            over a period of
                       (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

D    G    Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                       (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    G    Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F    G    Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




G    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




G    The defendant shall pay the cost of prosecution.

G    The defendant shall pay the following court cost(s):

G
X    The defendant shall forfeit the defendant’s interest in the following property to the United States:
                  (SEE ORDER ATTACHED)


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
                   Case 2:10-cr-00261-LDG-LRL                    Document 77          Filed 06/17/11            Page 7 of 9
AO 245B    (Rev. 09/08) Judgment in a Criminal Case
           Sheet 7 — Denial of Federal Benefits

                                                                                                     Judgment — Page   7       of       7
DEFENDANT:                  SCOTT BRADY
CASE NUMBER:                2:10-CR-00261-LDG-LRL
                                                  DENIAL OF FEDERAL BENEFITS
                                             (For Offenses Com m itted On or After Novem ber 18, 1988)

FOR DRUG TRAFFICKERS PURSUANT TO 21 U.S.C. § 862

          IT IS ORDERED that the defendant shall be:

G    ineligible for all federal benefits for a period of      N/A                           .

G    ineligible for the following federal benefits for a period of                                          .
     (specify benefit(s))




                                                                        OR
G    Having determined that this is the defendant’s third or subsequent conviction for distribution of controlled substances, IT IS
     ORDERED that the defendant shall be permanently ineligible for all federal benefits.

FOR DRUG POSSESSORS PURSUANT TO 21 U.S.C. § 862(b)

     IT IS ORDERED that the defendant shall:

G    be ineligible for all federal benefits for a period of                                 .


G    be ineligible for the following federal benefits for a period of                                      .

     (specify benefit(s))




     G     successfully complete a drug testing and treatment program.



           IS FURTHER ORDERED that the defendant shall complete any drug treatment program and community service specified in this
           judgment as a requirement for the reinstatement of eligibility for federal benefits.




                   Pursuant to 21 U.S.C. § 862(d), this denial of federal benefits does not include any retirement, welfare, Social Security,
health, disability, veterans benefit, public housing, or other similar benefit, or any other benefit for which payments or services are
required for eligibility. The clerk is responsible for sending a copy of this page and the first page of this judgment to:


                               U.S. Department of Justice, Office of Justice Programs, W ashington, DC 20531
      Case 2:10-cr-00261-LDG-LRL         Document 77        Filed 06/17/11     Page 8 of 9
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7                                       D ISTR ICT O F NEV AD A

8 UNITED STATES OFAMERICA,                            )
                                                      )
9                          Plaintiff,                 )
                                                      )
10            v.                                      )           2:10-CR-261-LDG ILRQ
                                                      )
11 SCO'
      IT BRADYS                                       )
                                                      )
12                         Defendant.
13                                 FIN AL O RD ER O F FO RFEIT UR E
14            On January 18,2011,theUnited StatesDistrictCourtforthe DistrictofNevada entered a
                                                                                            I
15 Preliminac OrderofForfeitlzreplzrsuanttoFed.R.Crim.P.32.2(b)(1)and(2);andTite 18,United
16 StatesCode,Section924(d)(l)andTitle28,UnitedStatesCode,Section2461(c),based Ipontheplea
17    ofguiltyby defendantSCOTT BRADY to acrim inaloffense,forfeiting speciticproperty alleged in
18 the Superseding Crim inallnfonnation and agreed to in the Plea M emorandum mzd shown by the
19 United Statesto have a requisite nexusto the offense to which defendantSCOTT BKADY,pled
20    guilty.Docket//54,#56,#57.
21            This Court tinds the United States of A m erica published the notice of the forfeiture in
22    accordance with the 1aw via the ofticialgovernmentinternetforfeiture site,www.forfeiture.gov,
23    consecutively from January 28,2011,through Febnzary 26,20l1,notifying a11know n tltird padiesof
24    theirrightto petition the Court.#62.
25            This Courtfindsno petition w asfiled herein by oron behalfofany person orentity and the
                                                                                            1
26    tim efort'
               iling such petitionsand claim shasexpired.                                   !
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     Case 2:10-cr-00261-LDG-LRL        Document 77      Filed 06/17/11     Page 9 of 9


                                                                                     !


 1           'rhisCourttindsnopetitionsarependingwithregardtotheassetsnamedhereinandthetim e
 2   forpresenting such petitionshas expired.
 3           THEREFORE,IT IS HEREBY ORDERED,ADJUDGED,AND DECREED thata11right,
 4   title,and interestin the property hereinafterdescribed iscondemned,forfeited,and vested in the

 5 United SttesofAmericapursuantto Fed.R.Crim.P,32.2(b)(4)(A)and (B);Fed.R,Crim .P.
 6 32.2(c)(2);Title18,UnitedStatesCode,Section924(d)(1)andTitle28,UnitedStatesCode,Section
 7 2461(c);andTitle21,United StatesCode,Section853(n)(7)and shallbedisposedofaccordingto
 8   law :

 9                 (a)    aRavenArmsM odelM P-25,.25calibersemiautomaticpistol,bearingserial
10                        num ber712961;

11                 (b)    aSavage.410gaugeshotgtm,withno serialnumberand asawpdoff8inch
12                        barrel;and

13                 (c)    anyandallammunition.
14           IT IS FURTHER ORDERED,ADJUDGED ,AND DECREED thatany and a11forfeited
15 funds,including butnotlimited to,currency,currency equivalents,certiticatesofdeposit,aswellas
16   anyincom ederivedasaresultoftheUnited StatesofAmerica'sm anagem entofanypropertyforfeited
17 herein,andtheproceedsfrom thesaleofanyforfeitedpropertyshallbedisposedofaccordingtolaw.
18           TheClerk ishereby directed to send copiesofthisOrderto a11cotmselofrecörd and three
19 certified copiesto the United StatesAttorney'sOflice.                              '
20           DATEDthiswl%.F' dayof /F1                      ,2011. h
21                                                                          ..,'-'
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                                                LTNIT DST TESDIST
                                                                /I JUD                ;

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